Case: 1:17-cv-01430 Document #: 64 Filed: 08/31/18 Page 1 of 3 Page|D #:1042

IN THE UNITED STATES DISTRICT COURT
F()R THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
STARR INDEMNITY & LIABILITY
COMPANY,
Plaintiff,
v. Case No.: l:l7-cv-01430

COOK COUNTY, ILLINOIS, an Illinois
governmental entity; TERRILL SWIFT;
MICHAEL SAUNDERS; VINCENT
THAl\/[ES; and HAROLD RICHARDSON,

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Defendants. )
PLAINTIFF’S MOTION FOR LEAVE
TO FILE SECOND AMENDED COMPLAINT AND
REOUEST F()R CASE STATUS CONFERENCE

Plaintiff, Starr lndemnity & Liability Company (“Starr”) by its undersigned attorneys,
Philip R. King and Jonathan Walton of Cozen O’Connor, pursuant to Federal Rule of Civil
Procedure lS(a)(Z), requests leave of court to tile a Second Amended Complaint for Declaratory
Relief and for the court to set a Case Status Conference, and in support thereof, states as follows:

l. Starr and Defendant Cook County have been addressing discovery and potential
agreements to narrow the issues in dispute.

2. As a result of those efforts any necessary discovery has been streamlined and Starr
and Cook County have narrowed the issues in dispute.

3. In addition, the underlying Swz'fl v. Cz`ty of Chz'cago, et al., has been settled

4. In order to address the remaining coverage issues and address the current and settled

underlying claims and facts, Starr requests leave to file a Second Amended Complaint for

Declaratory Relief, a copy of Which is attached hereto as Exhibit “A”.

Case: 1:17-cv-01430 Document #: 64 Filed: 08/31/18 Page 2 of 3 Page|D #:1043

5. Counsel for Cook County has advised that the County does not oppose this motion,
and has given Written consent to Starr’s filing of a Second Amended Complaint.

6. This request is made in good faith and is not made for any dilatory purpose and Will
not unfairly prejudice any of the Parties to this action

7. As With the prior Complaints, Starr’s proposed Second Amended Complaint seeks
to bind Defendants Michael Saunders, Vincent Thames and Harold Richardson to the outcome of
the coverage dispute With Cook County.

8. With the agreement of counsel for Cook County a request is made for the Court to
vacate the current Scheduling Order and to set a status conference to establish a new Scheduling
Order.

WHEREFORE, Starr respectfully requests that this Court grant it leave to tile the Second
Amended Complaint instanter and requests that the Court vacate the current Scheduling Order and
to set a Case Status Conference to establish a new Scheduling Order.

Respectfully submitted,

COZEN O’CONNOR

s/ Philip R. Kl`n£
One of the Attorneys for Plaintiff,
STARR INDEl\/INITY & LIABILITY COl\/[PANY

Philip R. King

Jonathan Walton

COZEN O’CONNOR

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Case: 1:17-cv-0143O Document #: 64 Filed: 08/31/18 Page 3 of 3 Page|D #:1044

CERTIFICATE OF SERVICE

The undersigned, an attorney, certifies that the aforesaid document has been filed and
served via the Court’s CM/ECF filing system by electronically filing and service the parties of
record on August 31, 2018.

s/ Philip R. King
Philip R. King

